Case 2:18-cr-00365-JNP   Document 1485-4 Filed 05/01/23   PageID.37063   Page 1
                                     of 42




                                                                    FIDFNCO00018
Case 2:18-cr-00365-JNP   Document 1485-4 Filed 05/01/23   PageID.37064   Page 2
                                     of 42




                                                                    FIDFNCO00019
Case 2:18-cr-00365-JNP   Document 1485-4 Filed 05/01/23   PageID.37065   Page 3
                                     of 42




                                                                    FIDFNCO00020
Case 2:18-cr-00365-JNP   Document 1485-4 Filed 05/01/23   PageID.37066   Page 4
                                     of 42




                                                                    FIDFNCO00021
Case 2:18-cr-00365-JNP   Document 1485-4 Filed 05/01/23   PageID.37067   Page 5
                                     of 42




                                                                    FIDFNCO00022
Case 2:18-cr-00365-JNP   Document 1485-4 Filed 05/01/23   PageID.37068   Page 6
                                     of 42




                                                                    FIDFNCO00023
Case 2:18-cr-00365-JNP   Document 1485-4 Filed 05/01/23   PageID.37069   Page 7
                                     of 42




                                                                    FIDFNCO00024
Case 2:18-cr-00365-JNP   Document 1485-4 Filed 05/01/23   PageID.37070   Page 8
                                     of 42




                                                                    FIDFNCO00025
Case 2:18-cr-00365-JNP   Document 1485-4 Filed 05/01/23   PageID.37071   Page 9
                                     of 42




                                                                    FIDFNCO00026
Case 2:18-cr-00365-JNP   Document 1485-4 Filed 05/01/23   PageID.37072   Page
                                   10 of 42




                                                                   FIDFNCO00027
Case 2:18-cr-00365-JNP   Document 1485-4 Filed 05/01/23   PageID.37073   Page
                                   11 of 42




                                                                   FIDFNCO00028
Case 2:18-cr-00365-JNP   Document 1485-4 Filed 05/01/23   PageID.37074   Page
                                   12 of 42




                                                                   FIDFNCO00029
Case 2:18-cr-00365-JNP   Document 1485-4 Filed 05/01/23   PageID.37075   Page
                                   13 of 42




                                                                   FIDFNCO00030
Case 2:18-cr-00365-JNP   Document 1485-4 Filed 05/01/23   PageID.37076   Page
                                   14 of 42




                                                                   FIDFNCO00031
Case 2:18-cr-00365-JNP   Document 1485-4 Filed 05/01/23   PageID.37077   Page
                                   15 of 42




                                                                   FIDFNCO00032
Case 2:18-cr-00365-JNP   Document 1485-4 Filed 05/01/23   PageID.37078   Page
                                   16 of 42




                                                                   FIDFNCO00033
Case 2:18-cr-00365-JNP   Document 1485-4 Filed 05/01/23   PageID.37079   Page
                                   17 of 42




                                                                   FIDFNCO00034
Case 2:18-cr-00365-JNP   Document 1485-4 Filed 05/01/23   PageID.37080   Page
                                   18 of 42




                                                                   FIDFNCO00035
Case 2:18-cr-00365-JNP   Document 1485-4 Filed 05/01/23   PageID.37081   Page
                                   19 of 42




                                                                   FIDFNCO00036
Case 2:18-cr-00365-JNP   Document 1485-4 Filed 05/01/23   PageID.37082   Page
                                   20 of 42




                                                                   FIDFNCO00037
Case 2:18-cr-00365-JNP   Document 1485-4 Filed 05/01/23   PageID.37083   Page
                                   21 of 42




                                                                   FIDFNCO00038
Case 2:18-cr-00365-JNP   Document 1485-4 Filed 05/01/23   PageID.37084   Page
                                   22 of 42




                                                                   FIDFNCO00039
Case 2:18-cr-00365-JNP   Document 1485-4 Filed 05/01/23   PageID.37085   Page
                                   23 of 42




                                                                   FIDFNCO00040
Case 2:18-cr-00365-JNP   Document 1485-4 Filed 05/01/23   PageID.37086   Page
                                   24 of 42




                                                                   FIDFNCO00041
Case 2:18-cr-00365-JNP   Document 1485-4 Filed 05/01/23   PageID.37087   Page
                                   25 of 42




                                                                   FIDFNCO00042
Case 2:18-cr-00365-JNP   Document 1485-4 Filed 05/01/23   PageID.37088   Page
                                   26 of 42




                                                                   FIDFNCO00043
Case 2:18-cr-00365-JNP   Document 1485-4 Filed 05/01/23   PageID.37089   Page
                                   27 of 42




                                                                   FIDFNCO00044
Case 2:18-cr-00365-JNP   Document 1485-4 Filed 05/01/23   PageID.37090   Page
                                   28 of 42




                                                                   FIDFNCO00045
Case 2:18-cr-00365-JNP   Document 1485-4 Filed 05/01/23   PageID.37091   Page
                                   29 of 42




                                                                   FIDFNCO00046
Case 2:18-cr-00365-JNP   Document 1485-4 Filed 05/01/23   PageID.37092   Page
                                   30 of 42




                                                                   FIDFNCO00047
Case 2:18-cr-00365-JNP   Document 1485-4 Filed 05/01/23   PageID.37093   Page
                                   31 of 42




                                                                   FIDFNCO00048
Case 2:18-cr-00365-JNP   Document 1485-4 Filed 05/01/23   PageID.37094   Page
                                   32 of 42




                                                                   FIDFNCO00049
Case 2:18-cr-00365-JNP   Document 1485-4 Filed 05/01/23   PageID.37095   Page
                                   33 of 42




                                                                   FIDFNCO00050
Case 2:18-cr-00365-JNP   Document 1485-4 Filed 05/01/23   PageID.37096   Page
                                   34 of 42




                                                                   FIDFNCO00051
Case 2:18-cr-00365-JNP   Document 1485-4 Filed 05/01/23   PageID.37097   Page
                                   35 of 42




                                                                   FIDFNCO00052
Case 2:18-cr-00365-JNP   Document 1485-4 Filed 05/01/23   PageID.37098   Page
                                   36 of 42




                                                                   FIDFNCO00053
Case 2:18-cr-00365-JNP   Document 1485-4 Filed 05/01/23   PageID.37099   Page
                                   37 of 42




                                                                   FIDFNCO00054
Case 2:18-cr-00365-JNP   Document 1485-4 Filed 05/01/23   PageID.37100   Page
                                   38 of 42




                                                                   FIDFNCO00055
Case 2:18-cr-00365-JNP   Document 1485-4 Filed 05/01/23   PageID.37101   Page
                                   39 of 42




                                                                   FIDFNCO00056
Case 2:18-cr-00365-JNP   Document 1485-4 Filed 05/01/23   PageID.37102   Page
                                   40 of 42




                                                                   FIDFNCO00057
Case 2:18-cr-00365-JNP   Document 1485-4 Filed 05/01/23   PageID.37103   Page
                                   41 of 42




                                                                   FIDFNCO00058
Case 2:18-cr-00365-JNP   Document 1485-4 Filed 05/01/23   PageID.37104   Page
                                   42 of 42




                                                                   FIDFNCO00059
